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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

WILLIAM MADISON,

Defendant.                                                No. 09-30026-DRH

                                    ORDER

HERNDON, Chief Judge:

      Pending before the Court is Madison’s January 7, 2013 pro se motion to

request action by the Court on a previously filed motion (Doc. 156). Said motion

is GRANTED. On January 6, 2013, the Court directed the parties to brief, on or

before January 22, 2013, the issues contained in Madison’s motion for retroactive

application of sentencing guidelines to crack cocaine offense 18 USC 3582 – 2011

(Doc. 146).   Once the issues are briefed by the parties, the Court will issue a

decision on the pending motion.

      IT IS SO ORDERED.
                                                                   David R.
                                                                   Herndon
      Signed this 9th day of January, 2013.                        2013.01.09
                                                                   09:23:05 -06'00'
                                              Chief Judge
                                              United States District Court




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